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UNITED STA'I'ES BANKRUPTCY COURT
WESTERN DISTRICT OF MICHIGAN

IN RE: Case No. 18-00452
Stacey P. Molenda, Chapter 7 Bankruptcy
Debtor. Hon. Scott W. Dales
/

 

DEBTOR'S RESPONSE TO STATEMENT OF PRESUMED ABUSE

 

NOW COMES, Debtor, Stacey P. Molenda, by and through her attorneys, CUZYDLO LAW
GROUP, PLLC, and states as follows:

1. The Debtor Eled for relief under Chapter 7 of the United States Bankruptcy Code
on February 7, 2018.

2. The initial meeting of creditors was held on Apri.l 6, 2017.

5. Ms. Molenda's only source of income is via her employment With the Okemos Public
Schools. Via said employment Ms. Molenda had a gross income monthly income When she E_led
her Chapter 'F case of $3,361.38. See the attached EXHIBIT A, Affidavit of Stacey P. Molenda.

4. Ms. Molenda resides With her husband, Who is not a debtor in the above captioned
case, and one (1) minor child.

5. The United States Trustee E_led a Statement of Presumed Abuse pursuant t:o 11 USC
§TOY(b) on April 16, 2018.

WHER_E`.FORE, Debtor, Stacey P. Molenda, requests a review of the Clerk's Notice of

presumed abuse.
Respectfully submitted,

CUZYDLO L:\. ' ROUP, PLLC

DATED:/ /) bl/ BY: W

Charles R. Cuzydlo (P48503)
CUZYDLO LAW GROUP, PLLC
2193 Association Dr., Ste 500
Okemos, MI 48864
517-853-3962
ecf@cuzydlolaw.com

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/

 

AFFIDAVIT OF STACEY P. MOLENDA

 

s'rATE oF MICHIGAN )
)ss
coUNTY oF menard )

Stacey P. Molenda, being first duly sworn, deposes and says:
1. I am a resident of Mason, Michigan.

2. l am fully familiar With the facts stated in this Affidavit and, if Sworn as a witness, I
am competent to tesn'fy to them.

3. My only source of income is via my employment With the Okemos Public Schools,
earning a gross income monthly income of $3,361.38 when l filed for Chapter 7 bankruptcy
protection.

Further, Affiant sayeth not.

Dated: L_`l" l l `Q( )lg BY: ‘ ' l
Stacey P. Mo da
Subscribed and sworn to before me, this l -i day of April, 2018.

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' " GARMENJ MCDONALD

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My Comnnssion Expires:

